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      EXHIBIT
     Case 1:23-cv-00079-ABJ Document 191-1 Filed 05/20/24 Page 2 of 2




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Iive:.cid.e73517886f1698df                                                                       1/3/2023 4 31 P
<at id=’8:erengifo’>Er ck</at> dear Erick Just received the letter from CFIUS

  ve:.cid.e73517886f1698df                                                                        1/3/2023, 4:40 PM
I will call Jonathan our morning to see f we can backdate the filing from Nov30 to Nov21 CFIUS reverted back to
BTOG on Nov29 3PM Beijing t me so we better date the restructuring before this date

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erengifo                                                                                         1/3/2023 4 43 PM
I have never received th s email

erengifo                                                                                         1/3/2023, 4:43 PM
<quote author’live. cid.e73517886f1698df’ authorname’haku du” timestamp=”1672764008”
conversationz”l 9 f243b091 79f94165adaab1 ee934225e7@thread.skype” messageid=’l 672764008035’
cuid’8771 3931 8374689980’><legacyquote>[1672764008] haku du: </legacyquote>I will call Jonathan our morning to
see if we can backdate the filing from Nov 30 to Nov 21. CFIUS reverted back to BTOG on Nov 29 3PM Beijing time so
we better date the restructuring before this date <legacyquote>
